   Case 3:19-cv-00054-NKM-JCH Document 185-1 Filed 09/09/21 Page 1 of 7 Pageid#: 1617
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Western District
                                                       __________ DistrictofofVirginia
                                                                               __________
                  Kieran Ravi Bhattacharya
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:19-cv-54
                 James B. Murray, Jr., et al.                                 )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                Cellco Partnership
       Serve: The Corporation Company, Inc., 1136 Union Mall, Suite 301, Honolulu, Hawaii 96813 by fax (808) 524-4499
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attachment A


  Place: Via facsimile at 804-371-2087, Attn: Brittany McGill or                        Date and Time:
           another electronic method agreed upon by You and the                                              09/13/2021 5:00 pm
           undersigned counsel

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        08/30/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Brittany A. McGill
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) James B. Murray,
Jr., Whittington W. Clement, Robert M. Blue, etc. (All Defendants)       , who issues or requests this subpoena, are:
Brittany A. McGill, 202 N. 9th Street, Richmond, VA 23219, BMcGill@oag.state.va.us, (804) 786-0082

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:19-cv-54

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          ATTACHMENT A

                                          INSTRUCTIONS

   1.      Please furnish all responsive documents in your possession, custody, or control or in the
   possession, custody or control of your employees, representatives, or agents. Without limitation
   of the term "control," a Document is deemed to be in your control if you have the right to secure
   the Document or a copy thereof from another person or public or private entity having actual
   possession thereof, or if you have the practical ability to obtain the Document from a third-party,
   irrespective of any legal entitlement to the Document. If any original Document requested is not
   in your possession, custody, or control, then you are required to produce the best available copy,
   and to state, to the best of your knowledge, the name and address of the person in possession
   and/or control of the original. The fact that a Document is in possession of another person or
   entity does not relieve you of the obligation to produce your copy of the Document, even if the
   two Documents are identical. In addition, any copy of a Document shall be produced if it differs
   in any respect from the original (e.g., by reason of handwritten notes or comments having been
   added to copy which do not appear on the original or otherwise).

   2.      If at any time you had possession, custody, or control of a document responsive to these
   requests and if such document, or portion of such document, has been lost, destroyed, purged or
   otherwise is not presently in your possession, custody, or control, then: (a) identify the
   document; (b) state the date of its loss, destruction, purge or separation from your possession or
   control; (c) state the circumstances surrounding its loss, destruction, purge or separation from
   your possession or control; and ( d) state its present or last known location, including the name,
   address and telephone number of each person believed to have possession of such document.

   3.     If, in responding to this Subpoena, you encounter any ambiguities when construing a
   request or definition, the response shall set forth the matter deemed ambiguous and the
   construction used in responding.

   4.    Whenever in this Subpoena you are asked to identify or produce a document which is
   deemed by you to be properly withheld from production for inspection or copying:

          (a)     if you are withholding the document under claim of privilege (including, but not
          limited to, the work product doctrine), please provide the information set forth in Fed. R.
          Civ. P. 26(b)(5), including the type of document, the general subject matter of the
          document, the date of the document, and such other information as is sufficient to
          identify the document, including, where appropriate, the author, addressee, custodian, and
          any other recipient of the document, and where not apparent, the relationship of the
          author, addressee, custodian, and any other recipient to each other, in a manner that,
          without revealing the information claimed to be protected, will enable this party to assess
          the applicability of the privilege or protection claimed by you;

          (b)    if you are withholding the document on the ground that production is unduly
          burdensome, describe the burden or expense of the proposed discovery.



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          (c)     if you are withholding the document for any reason other than an objection that it
          is beyond the scope of discovery or that a request is unduly burdensome, identify as to
          each document and, in addition to the information requested in ¶ 4(a) and ¶ 4(b), please
          state the reason for withholding the document.

   5.      When a document contains both privileged and non-privileged material, the
   nonprivileged material must be disclosed to the fullest extent possible without thereby disclosing
   the privileged material. If a privilege is asserted with regard to part of the material contained in a
   document, the party claiming the privilege must clearly indicate the portions as to which the
   privilege is claimed. When a document has been redacted or altered in any fashion, identify as to
   each document the reason for the redaction or alteration, the date of the redaction or alteration,
   and the person performing the redaction or alteration. Any redaction notation must be clearly
   visible on the redacted document.

   6.      The present tense includes the past and future tenses. The singular includes the plural,
   and the plural includes the singular. Words in the masculine, feminine or neuter form
   shall include each of the other genders.

   7.     If the requested documents are maintained in a file, the file folder label is included in the
   request for production of those documents. If maintained in electronic format, the file name,
   folder and any other path names or categorizing information is included in the request for
   production of those documents.

   8.     All documents that are required to be produced in response to this Subpoena shall be
   produced in the following manner:

          (a)     All documents maintained by you in an electronic format should be produced in
          an electronic format; and if such documents are maintained by you in a searchable
          electronic format, they should be produced in a searchable electronic format. If producing
          any document in an electronic form creates an undue burden for you, you are to contact
          defendants’ counsel to discuss that burden before the production date indicated on the
          subpoena with enough time to ensure that you can meet that production date.

          (b)     JPG files and photographs shall be produced in JPG format.

          (c)     Parent-child relationships (association between an attachment and its parent
          document) shall be preserved. The attachment(s) shall be produced immediately after the
          parent document.

          (d)    All electronically stored information shall be produced with all metadata
          associated with the original document intact.

          (e)      Spreadsheets and data shall be produced in native format, preferably Excel with
                  column headers.

          (f)     Counsel is available to meet and confer as to the production format.

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                                            DEFINITIONS

   1.     The terms “you” or “your” refer to the Verizon and any officer, employee, agent,
   representative, or other individual or entity, acting on behalf of or at the direction of the “Relate
   to” or “relating to” shall mean consisting of, referring to, describing, discussing, constituting,
   evidencing, containing, reflecting, mentioning, concerning, pertaining to, citing, summarizing,
   analyzing, or bearing any logical or factual matter with the matter discussed.

   3.     “Document” and “documents” includes all writings of any kind, including typed,
   handwritten, or other, and all forms, drawings, graphs, charts, photographs, sound recordings,
   images, and other data or data compilations, stored in any medium from which information can
   be obtained either directly or, if necessary, after translation by the responding party into a
   reasonably usable form. The terms “document” and “documents” specifically include electronic
   documents and data.

   4.    All undefined terms shall be interpreted according to their plain and commonsense
   meaning.




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                      REQUESTED DOCUMENTS, ELECTRONICALLY
                         STORED INFORMATION AND THINGS
                                 ATTACHMENT A

          Please make available on or before the date specified on the foregoing subpoena, a
   complete copy of the following documents and tangible things, whether electronically stored or
   otherwise:

             •   All records for phone number (808) 344-9928, including but not limited to
                 records under account 570505516-00001, from and including August 1,
                 2016 through December 31, 2019, including, but not limited to, any and
                 all text messages, call logs, text message logs, recordings, and phone
                 messages of any kind;

             •   All records for phone number (808) 984-3619, from and including August
                 1, 2016 through December 31, 2019, including, but not limited to, any and
                 all text messages, call logs, text message logs, recordings, and phone
                 messages of any kind; and

             •   All records for any account or phone number in the name of Kieran
                 Bhattacharya (DOB 06/20/1996), from and including August 1, 2016 to
                 December 31, 2019, including, but not limited to, any and all text
                 messages, call logs, text message logs, recordings, and phone messages of
                 any kind.




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